Case 18-18076-amc         Doc 32
                            Filed 02/19/20 Entered 02/19/20 16:05:55 Desc Main
                            Document     Page 1 of 3
                 IN THE UNITED STATES BANKRUPTCY COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)
 IN RE:                                      :
 KAIRI E. GOULD                              :     BK. No. 18-18076-amc
                        Debtor               :
                                             :     Chapter No. 13
 AURORA FINANCIAL GROUP, INC.                :
                        Movant               :
                   v.                        :
 KAIRI E. GOULD                              :
                        Respondent           :     11 U.S.C. §362

  MOTION OF AURORA FINANCIAL GROUP, INC. FOR RELIEF FROM AUTOMATIC
    STAY UNDER §362 PURSUANT TO BANKRUPTCY PROCEDURE RULE 4001

               Movant, by its attorneys, PHELAN HALLINAN DIAMOND & JONES, LLP, hereby

requests a termination of Automatic Stay and leave to foreclose on its mortgage on real property

owned by Debtor, KAIRI E. GOULD A/K/A KAIRI GOULD.

               1.      Movant is AURORA FINANCIAL GROUP, INC.

               2.      Debtor, KAIRI E. GOULD A/K/A KAIRI GOULD, is the owner of the

premises located at 1800-02 W ERIE AVENUE, PHILADELPHIA, PA 19140, hereinafter known

as the mortgaged premises.

               3.      Movant is the holder of a mortgage on the mortgaged premises.

               4.      Debtor's failure to tender monthly payments in a manner consistent with the

terms of the Mortgage and Note result in a lack of adequate protection.

               5.      Movant instituted foreclosure proceedings on the mortgage because of Debtor's

failure to make the monthly payment required hereunder.

               6.      The foreclosure proceedings instituted were stayed by the filing of the instant

Chapter 13 Petition.

               7.      As of February 7, 2020, Debtor has failed to tender post-petition mortgage

payments for the months of December 2019 through February 2020. The monthly payment amount

for the months of December 2019 through February 2020 is $1,581.76 each, less suspense in the

amount of $47.44, for a total amount due of $4,697.84. The next payment is due on or before March

1, 2020, in the amount of $1,581.76.       The following fees and costs have been incurred since
Case 18-18076-amc          Doc 32   Filed 02/19/20 Entered 02/19/20 16:05:55 Desc Main
                                   Document        Page 2 of 3
bankruptcy filing: Plan Review Fees in the amount of $250.00, Objection to Plan Fees $500.00, Proof

of Claim Fees in the amount of $650.00, and Notice of Post-petition Mortgage Fees, Expenses, and

Charges Fees in the amount of $100.00. Under the terms of the Note and Mortgage, Debtor has a

continuing obligation to remain current post-petition and failure to do so results in a lack of adequate

protection to Movant.

               8.       Movant, AURORA FINANCIAL GROUP, INC., requests the Court award

reimbursement in the amount of $1,031.00 for the legal fees and costs associated with this Motion.

               9.       Movant has cause to have the Automatic Stay terminated as to permit Movant

to complete foreclosure on its mortgage.

               10.      Movant specifically requests permission from the Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law.

               11.      Movant, it's successors and assignees posits that due to Debtor's continuing

failure to tender post-petition mortgage payments and the resulting and ever increasing lack of

adequate protection that said failure presents, sufficient grounds exist for waiver of Rule 4001(a)(3),

and that Movant, its successors or assignees should be allowed to immediately enforce and implement

the Order granting relief from the automatic stay.

               12.      Movant requests that if relief is granted that Federal Rule of Bankruptcy

Procedure 3002.1 be waived.

               WHEREFORE, Movant respectfully requests that this Court enter an Order;

               a.       Modifying the Automatic Stay under Section 362 with respect to 1800-02 W

ERIE AVENUE, PHILADELPHIA, PA 19140 (as more fully set forth in the legal description

attached to the Mortgage of record granted against the Premises), as to allow Movant, its successors

and assignees, to proceed with its rights under the terms of said Mortgage; and

               b.       Movant specifically requests permission from this Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable
Case 18-18076-amc         Doc 32    Filed 02/19/20 Entered 02/19/20 16:05:55                Desc Main
                                    Document     Page 3 of 3
nonbankruptcy law; and

               c.     Holding that due to Debtor's continuing failure to tender post-petition mortgage

payments and the resulting and ever increasing lack of adequate protection that said failure presents,

sufficient grounds exist for waiver of Rule 4001(a)(3), and that Movant, its successors or assignees,

should be allowed to immediately enforce and implement the Order granting relief from the automatic

stay; and

               d.     Waiving Federal Rule of Bankruptcy Procedure 3002.1; and

               e.     Granting any other relief that this Court deems equitable and just.

                                                    /s/ Jerome Blank, Esquire
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